   Case 1:25-cv-00511-CRC       Document 43     Filed 05/23/25    Page 1 of 1




               Supreme Court of the United States

                                No.   24A1122


                        U.S. DOGE SERVICE, ET AL.,

                                                     Applicants
                                      v.


   CITIZENS FOR RESPONSIBILITY AND ETHICS IN WASHINGTON



                                  ORDER



         UPON CONSIDERATION of the application of counsel for the

applicants and the response filed thereto,

         IT IS ORDERED that the April 15, 2025, and May 20, 2025 orders of

the United States District Court for the District of Columbia, case No. 25-cv-

511, are hereby stayed pending further order of the undersigned or of the

Court.



                                                 /s/ John G. Roberts, Jr.
                                             Chief Justice of the United States


Dated this 23rd
day of May 2025.
